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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 DAN CREPPS,                                        )
                                                    )
         Plaintiff,                                 )
                                                    )
 vs.                                                )   Case No. 4:19-cv-02554-SEP
                                                    )
 CONOPCO, INC., et al.,                             )
                                                    )
         Defendant.                                 )
                                             ORDER
        Before the Court are two motions to transfer and coordinate pretrial proceedings. Docs.
[35], [37]. The Court previously granted a motion to consolidate eight cases with identical
claims against Defendant Conopco, Inc. Doc. [13]. Since that order, Defendant has removed
five cases filed by the same lawyer raising the same claims on behalf of new plaintiffs.
Defendant requests, with consent of Plaintiffs’ counsel, that these actions be consolidated for
pretrial purposes:

   1.   Fischer v. Conopco, Inc., 4:21-cv-00582-JMB
   2.   Muller v. Conopco, Inc., 4:21-cv-00583-SRW
   3.   Sandbach v. Conopco, Inc., 4:21-cv-00706-DDN
   4.   Sandbach v. Conopco, Inc., 4:21-cv-00709-JAR
   5.   Huskey v. Conopco, Inc., 4:21-cv-00710-SRW

For the reasons articulated in the previous order to consolidate, Doc. [13], the Court will grant
the motions. Accordingly,
        IT IS HEREBY ORDERED that the motions to transfer and coordinate pretrial
proceedings, Docs. [35], [37], are GRANTED. All pleading and other documents in this matter
shall be filed in Crepps v. Conopco, Inc., 4:19-cv-02554-SEP. See E.D. Mo. L.R. 4.03.
        Dated this 24th day of June, 2021.




                                                  SARAH E. PITLYK
                                                  UNITED STATES DISTRICT JUDGE
